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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 17-60907-CIV-MORENO

   FEDERAL TRADE COMMISSION, et al.,

                  Plaintiffs,

   v.

   JEREMY LEE MARCUS, et al.,

               Defendants.
   ______________________________________/

      EXPEDITED MOTION FOR IMPOSITION OF EQUITABLE LIEN BASED ON
      SEPARATELY CONTRIBUTED FUNDS FOR THE PURCHASE OF THE REAL
    PROPERTY LOCATED AT 300 ROYAL PLAZA DR. FORT LAUDERDALE, FL 33301

          Non-party, Amanda Finley (“Ms. Finley”) files this Motion for Imposition of Equitable

   Lien Based on the Separately Contributed Funds for the Purchase of the Real Property (the

   “Motion”) Located at 300 Royal Plaza Dr. Fort Lauderdale, Florida 33301 (the “Property”). Ms.

   Finley is seeking expedited relief on the Motion in order to have the issue resolved prior to the

   sale of the Property, which counsel for Jonathan Perlman (the “Receiver”) represented was due

   to close in ten (10) days. In support, Ms. Finley states as follows:

                                           INTRODUCTION

          Ms. Finley is an innocent non-party in this case. She acted as the real estate agent for the

   purchase of the Property, which she subsequently resided in as her homestead. In order to

   contribute to the purchase of her homestead Property and for her proportional ownership of the

   Property, she contributed $107,500.00 of her commission for the purchase of the Property. See

   attached as Exhibit A the Property Closing HUD-1, Line 209, 703. Ms. Finley’s commission

   was paid by the homebuilder and seller of the Property, Estate Homes, LLC (the “Seller”), so it

   was not traceable at all to the Defendants’ funds. See Exhibit A, Line 703. She made this
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   contribution based on the reasonable expectation that she would own that portion of the Property.

   Importantly, Ms. Finley is not claiming any percentage ownership or claim to the Property over

   and beyond her actual monetary contribution for the Property. The only equitable right that Ms.

   Finley is seeking for this Court to enforce is regarding her proportional ownership right in the

   Property for her separate and independent contribution to the Property in the amount of

   $107,500.00.

            Ms. Finley was married to Defendant Marcus for approximately three (3) months prior to

   the Plaintiffs filing the instant case.1 Regardless of whether the Defendant’s contribution to the

   Property was predicated on improperly earned funds, Ms. Finley’s contribution was not. Her

   contribution was based on her legitimate work as a real estate agent to facilitate the purchase and

   closing of the Property, which was fully paid by the Seller, and thus not traceable to any of the

   Defendants’ funds or alleged wrongdoing. No facts in this case support the Receiver’s requested

   forfeiture of Ms. Finley’s purchased ownership interest in the Property. Likewise, there are no

   facts that could negate that Ms. Finley used her properly and independently earned commission

   to contribute to the purchase of the Property.

            If the Receiver is permitted to reap the full value of the Property, including retaining Ms.

   Finley’s ownership right in the Property, then the Receivership estate would receive an

   unquestionable windfall, while Ms. Finley would have received nothing in exchange for her

   purchased interest in the Property. That result is wholly inequitable and Florida law prohibits

   such unjust enrichment. Therefore, Ms. Finley is seeking for this Court to impose an equitable

   lien on the Property or the proceeds thereof in favor of Ms. Finley based on her $107,500.00

   monetary contribution for the Property, which should be paid to her upon closing of the Property.



   1
       Ms. Finley has since divorced the Defendant.

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                                        RELEVANT FACTS

          In 2017, Ms. Finley served as the real estate agent for the purchase of the Property. See

   attached as Exhibit B the executed contract for purchase of the Property (the “Contract”). Based

   on Ms. Finley’s work to facilitate the purchase and closing of the Property as well as the work of

   her broker, Florida Coastal Realty Group (“Broker”), the Seller was obligated to pay her Broker

   a 3% commission on the total sales price of the Property, or $5,250,000.00. See Ex. B at 12

   (noting her Broker’s 3% commission earned upon closing of the Property); see also Ex. A, Line

   701, 703 (noting the Seller’s payment of the commission). The total commission the Seller owed

   to her Broker totaled $157,500.00 (the “Full Commission”). See Ex. A, Line 701.

          Since this was intended to be Ms. Finley’s homestead and permanent residence, in order

   to contribute to the purchase of the Property Ms. Finley rebated to the Buyer $107,500.00 from

   the portion of the Full Commission that was otherwise directly payable to her as payment for her

   portion of the commission paid by the Seller, with the permission of her Broker. Ms. Finley’s

   $107,500.00 monetary contribution was fully disclosed on the HUD-1. See Ex. A, Line 209.2

          Ms. Finley’s monetary contribution to the Property was always intended to be for her

   partial ownership in the Property.3 Her monetary contribution came from funds that she properly

   earned, which were completely separate and independent of anything related to the Plaintiffs’

   lawsuit against the Defendants, which is clear given that it was paid by the Seller – not the

   Buyer. She only contributed the $107,500.00 based on the expectation that she would own that

   portion of the Property.

          In 2017, this was fully disclosed to the Receiver, who specifically acknowledged Ms.


   2
     The remainder of the commission was used to pay her Broker its contractual fee of 10% of the
   Full Commission, or $15,750.00. Ms. Finley received $34,250 at closing.
   3
     Ms. Finley and the Defendant’s prenuptial agreement stated that Ms. Finley would only own
   any joint property up to the amount of funds that she separately contributed for the property.

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   Finley’s claim of ownership and equitable lien based on her contributed commission.              See

   attached as Exhibit C the reservation of rights acknowledgement letter from the Receiver. Ms.

   Finley advised the Receiver that she retained her purchased interest in the Property, even despite

   her executing a quitclaim deed in the Property to the Defendant at the Receiver and the

   Plaintiffs’ insistence.4 Ms. Finley immediately cooperated with executing the deed to the

   Defendant, as requested, but insisted that she maintained her $107,500.00 purchased interest in

   the Property. The Receiver executed a confirmation letter to Ms. Finley acknowledging that she

   was not waiving her claim to the $107,500.00 that she paid for the Property, upon my executing

   the quitclaim deed of the Property. See id.

          Ms. Finley believed that the Receiver would, in compliance with his duty to objectively

   and fairly administer the receivership assets, pay Ms. Finley for her monetary contribution to the

   Property. Instead, the Receiver recently asked Ms. Finley to execute another deed for the

   Property, and while not disclaiming that Ms. Finley contributed $107,500.00 to the purchase of

   the Property through her commission rebate, refused to pay her commensurate with her

   contribution.

                                             ARGUMENT

       I. This Court Should Impose an Equitable Lien on the Property in the Amount of Ms.
          Finley’s Monetary Contribution in the Property.

          In Florida, an equitable lien may be granted upon a declaration by a court out of general

   considerations of right or justice as applied to the particular circumstances of a case. See Jones v.

   Carpenter, 90 Fla. 407, 413–14, 106 So. 127 (1925); Ross v. Gerung, 69 So.2d 650, 652 (Fla.



   4
     At the time this case was filed, Ms. Finley owned the Property as tenants by the entireties with
   the Defendant. After Plaintiffs threatened to make Ms. Finley a receivership defendant if she did
   not execute the quitclaim deed to the Defendant, Ms. Finley agreed with the understanding that
   Plaintiffs and Receiver knew that Ms. Finley retained her equitable interest in the Property.

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   1954). Another circumstance “justifying the imposition of an equitable lien exists ‘when the

   claimant has furnished funds for the improvement of land with the knowledge and consent of the

   owner.” Della Ratta v. Della Ratta, 927 So. 2d 1055, 1059 (Fla. 4th DCA 2006) (citing

   Frambach v. Dunihue, 419 So.2d 1115 (Fla. 5th DCA 1982)). Furthermore, prevention of unjust

   enrichment is a proper basis for imposing an equitable lien on a homestead. See e.g., Palm Beach

   Savings & Loan Assoc. v. Fishbein, 619 So.2d 267 (Fla.1993); Spridgeon v. Spridgeon, 779 So.

   2d 501, 502 (Fla. 2d DCA 2000); Della Ratta, 927 So.2d at 1059. The elements of unjust

   enrichment are satisfied when a person voluntarily accepts and retains a benefit from another

   under circumstances, which would equitably require either disgorgement or the equivalent

   payment of value. Zambrana v. Geminis Envios Corp., 2008 WL 2397624 *5 (S.D. Fla. 2008).

          Ms. Finley conferred a benefit of $107,500.00 that the Receivership estate knowingly

   (with written acknowledgement) accepted and is attempting permanently retain the full value

   thereof without paying Ms. Finley anything at all. It would be wholly inequitable and a clear

   example of unjust enrichment for Ms. Finley to lose her entire monetary contribution paid for the

   purchase of the Property in exchange for nothing – while the Receivership estate retains the full

   value of the Property, including Ms. Finley’s purchased interest with properly earned funds.

          A grantor’s lien or vendor’s lien is “a creature of equity, a lien implied … for the unpaid

   purchase price of land, where he has not taken any other lien or security beyond the personal

   obligation of the purchaser.” Golden v. Woodward, 15 So. 3d 664, 669 (Fla. 1st DCA 2009)

   (citing Special Tax Sch. Dist. No. 1 of Orange County v. Hillman, 131 Fla. 725, 179 So. 805, 809

   (1938); Bowen v. Grace, 64 Fla. 28, 59 So. 563, 564 (1912); McKinnon v. Johnson, 54 Fla. 538,

   45 So. 451, 452 (1907); Rewis v. Williamson, 51 Fla. 529, 41 So. 449, 450–51 (1906)). “The lien

   does not result from agreement, but is given by implication of law, as an incident to the debt, and



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   is enforceable in equity where the vendor is entitled to it.” Id. (citing Hillman, 179 So. at 809).

   “Florida courts have recognized that ‘a vendor’s lien is merely a particular form

   of equitable lien which has long been recognized.’” Id. (citing Hillman, 179 So. at 809; Lake

   Placid Holding Co. v. Paparone, 508 So.2d 372, 377 (Fla. 2d DCA 1987); Oliver v.

   Mercaldi, 103 So.2d 665, 668 (Fla. 2d DCA 1958). “A third party who advances the purchase

   price is entitled to an equitable vendor’s lien.” Spikes v. OneWest Bank FSB, 106 So. 3d 475, 478

   (Fla. 4th DCA 2012) (citing Craven v. Hartley, 102 Fla. 282, 135 So. 899 (1931)).

          Ms. Finley is entitled to a grantor’s or vendor’s lien based on portion of the purchase

   price of the Property that she contributed, in which she has no other lien or security interest, yet

   she should be entitled to her purchased interest based on equity. Importantly, Ms. Finley is not

   seeking anything beyond the funds that she clearly contributed for the purchase of the Property,

   as demonstrated through documentary evidence. See e.g., La Mar v. Lechlider, 135 Fla. 703,

   708, 185 So. 833, 835 (1939) (concluding that plaintiff was entitled to an equitable lien on

   defendant’s real property for money plaintiff had advanced to defendant and for her labor and

   services performed); Sonneman v. Tuszynski, 139 Fla. 824, 828, 191 So. 18, 19 (1939) (imposing

   an equitable lien on homestead for the amount of funds actually used to improve the homestead

   and based an additional amount based on other domestic work performed). Ms. Finley is not

   seeking compensation for her work performed to improve the Property, which is also recoverable

   under Florida law through an equitable lien. Ms. Finley is seeking to be compensated for her

   proportional ownership right in the Property for her separate and independent contribution in the

   amount of $107,500.00, which was paid from the Seller (not traceable to the Defendants).

          The attached Contract and corresponding HUD-1 shows that she contributed $107,500.00

   of her own properly earned funds to the Property (not merely for improvement but for the actual



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   purchase of the Property). Ms. Finley was never paid back for this contribution to the Property.

   Certainly, general considerations of right and justice should demand that Ms. Finley is repaid for

   her monetary contribution to the Property upon the sale of the Property. Equity cannot permit

   anyone, even a fiduciary like the Receiver, to reap such a windfall.

          It is Ms. Finley’s understanding that the Receiver does not dispute the fact that she

   rebated the commission properly payable to her in order for her to contribute to the purchase of

   the Property. Indeed, such an argument is contrary to the facts. Instead, the Receiver argues that

   somehow it would result in unjust enrichment for Ms. Finley to be paid commensurate with the

   value that she contributed to the Property. This argument is belied by the facts, documents, and

   simple logic. Rather, it is the Receivership estate that would be unjustly enriched if it was able to

   retain the full value of the Property, including the amount that Ms. Finley contributed to the

   purchase of the Property, while giving Ms. Finley nothing in exchange. That is the most classic

   example of unjust enrichment and a prohibited double recovery.

          Based on the Receiver and Plaintiffs insisting on Ms. Finley deeding her interest in the

   Property to the Defendant, although acknowledging that she was not waiving her claim to the

   Property, and specifically her equitable lien, Ms. Finley is left with no adequate remedy at law to

   recover her purchased interest in the Property, other than seeking imposition of the requested

   equitable lien. Therefore, this Court should impose an equitable lien in favor of Ms. Finley in

   the amount of $107,500.00 over the Property or to attach to the sales proceeds of the Property

   and to be paid at the closing of the Property.

      II. No Circumstances Justify Ms. Finley Forfeiting Her Purchased Ownership Interest
          in the Property.

           “Forfeitures are not favored in the law.” United States v. $ 38,000.00 in U.S. Currency,

   816 F.2d 1538, 1547 (11th Cir. 1987). The government “cannot deem entireties property forfeit


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   because of the unlawful conduct of one spouse acting alone.” United States v. One Single Family

   Residence With Out Buildings Located at 15621 S.W. 209th Ave., Miami, Fla., 894 F.2d 1511,

   1515 (11th Cir. 1990) (refusing to require property forfeiture by innocent spouse). The Receiver

   makes many unavailing arguments why Ms. Finley should not be paid commensurate with her

   contribution in the Property, but none warrant the forfeiture that the Receiver seeks.

          First, the Receiver takes the position that Ms. Finley received value for her purchased

   interest in the Property by virtue of her living in the Property “rent-free.” It is uncertain how the

   Receiver can argue that, as tenants by the entireties property owner at the time, Ms. Finley

   should be required to pay rent. Certainly, it is unclear how this would be required for the

   approximate one (1) year period before this case was even filed and since this was before the

   Receiver was even entitled to possession of the Property. The Receiver uses this skewed logic to

   conjure some sort of “value” given to Ms. Finley for her purchased interest in the Property.

   However, the only way for Ms. Finley to truly obtain any value for her purchased interest in the

   Property is by her being paid back the $107,500.00 that she contributed towards the purchase of

   the Property.

          Second, the Receiver argued that the Property was purchased with stolen funds.

   However, the Receiver confusing the issues and conflating Ms. Finley, an innocent third party,

   with the Defendant. Ms. Finley’s purchased interest in the Property was based solely on her

   independent work as a real estate agent, which commission was paid by the Seller to her Broker

   and then would be paid to her upon closing. There is nothing inappropriate about Ms. Finley’s

   separate contribution from her properly earned funds that were payable to the Broker and her

   directly from the Seller. No conceivable facts could make her monetary contribution traceable to




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   any stolen funds as the Contract and HUD-1 show that payment of the commission was due by

   the Seller upon closing of the Property. See Ex. A and B.

          In fact, Ms. Finley was in the process of selling two (2) other pieces of real property

   owned by the Defendant at the time of this lawsuit. The Receiver allowed her to complete both

   sales and paid her Broker, and thus Ms. Finley, the full commission for her work as a real estate

   agent for the seller in both transactions, as contractually required. The Receiver’s own actions in

   this case regarding Ms. Finley’s work as a real estate agent undermines his current position in

   denying Ms. Finley the amount of money that she contributed to the Property, especially given

   that the commission in this circumstance was paid by a source other than the Defendants.

          Third, the Receiver avers that Ms. Finley’s relationship to the Defendant should

   somehow result in her forfeiting her purchased interest in the Property. There is nothing

   equitable about an innocent third party forfeiting a purchased ownership right. Ms. Finley was in

   no way involved in the Defendants’ debt businesses or the subject of the Plaintiffs’ lawsuit. Her

   short-term marriage to someone that she has since realized that she never truly knew should not

   serve as a basis for her to forfeit her ownership interest in the Property. All principals of equity

   and fairness contradict the Receiver’s desired result.

          Finally, the Receiver wrongfully threatens that Ms. Finley will be in violation of the

   preliminary injunction order by virtue of attempting to enforce her purchased interest in the

   Property that preceded the issuance of that Order – and the filing of this case. The Receiver

   attempts to equate Ms. Finley’s request for payment based on her contribution as somehow

   inexplicably encumbering the Property or interfering with the Receiver. However, the Receiver’s

   threats of purported violation of the Court’s Order are contrary to the facts. Ms. Finley’s

   purchased interest in the Property, and thus any corresponding encumbrance, preceded the May



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   2017 Order and the filing of this case by nearly one (1) year. This was fully disclosed to the

   Receiver as expressed in the Receiver’s own correspondence. See Ex. C. Further, Ms. Finley in

   no way interfered with the Receiver and, in fact, cooperated with deeding the Property, as

   requested, and later vacating the Property, as agreed. Ms. Finley is merely seeking to be paid

   commensurate with her monetary contribution in the Property. After the Receiver refused to

   honor her purchased interest, Ms. Finley was forced to seek the requested equitable lien from this

   Court. No stretch of the imagination could support anyone viewing Ms. Finley’s actions as

   violating this Court’s Order.5

                                             CONCLUSION

          Ms. Finley is an innocent non-party. She contributed $107,500 of money payable directly

   to her from her professional work as a real estate agent for the purchase of the Property. She did

   this to contribute to the purchase of her homestead and based on the expectation that she would

   own that percentage of the Property. It is logical that the Defendant would have to forfeit his

   interest in the Property based on the facts of this case. However, nothing in this case warrants

   Ms. Finley forfeiting her purchased interest in the Property. Indeed, such a draconian result

   would be contrary to the law and all principals of equity and fairness. Therefore, this Court

   should enter an equitable lien in the Property in favor of Ms. Finley or over the sale proceeds of

   the Property to be paid at the closing.




   5
     The Receiver also threatened legal action for any “lost sale” due to Ms. Finley seeking payment
   for her monetary contribution to the Property. Ms. Finley agreed to sign any documents
   necessary to effectuate the sale of the Property if the Receiver agreed to pay Ms. Finley for her
   separate contribution to the Property. The Receiver refused. If any sale is lost, it is based on the
   Receiver’s actions in wrongfully refusing to honor Ms. Finley’s purchased ownership interest in
   the Property that he has been on notice of since 2017.

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          WHERFORE, Ms. Finley respectfully requests that this Honorable Court enter an Order:

          (i)     Granting this Motion;

          (ii)    Imposing an equitable lien in the amount of $107.500.00 over the Property

                  located at 300 Royal Plaza Dr. Fort Lauderdale, FL 33301 in favor of Ms. Finley;

          (iii)   Directing that the $107,500.00 equitable lien be paid at the closing of any sale of

                  the Property or to attach to the proceeds of the sale of the Property; and

          (iv)    For any further relief that this Court deems just and proper.



                  CERTIFICATE OF COMPLIANCE LOCAL RULE 7.1(A)(3)
          I HEREBY CERTIFY that, pursuant to Local Rule 7.1(a)(3), Amanda Finley conferred

   with the Receiver on this matter prior to filing the Motion in a good faith attempt to resolve the

   issue without Court intervention. The Receiver opposes the relief requested.



          Dated: August 29, 2019                        Respectfully Submitted,

                                                        /s/ Amanda E. Finley
                                                        Amanda Finley, Esq. (pro se)
                                                        Florida Bar No. 100225
                                                        1001 Brickell Bay Dr., 9th Floor
                                                        Miami, Florida 33131


                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via
   electronic filing using the CM/ECF system with the Clerk of the Court which sent e-mail
   notification of such filing to all CM/ECF participants in this case on August 29, 2019.

                                                        /s/ Amanda E. Finley
                                                        Amanda E. Finley




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            EXHIBIT A
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            EXHIBIT B
                                                                                                                                                 1. Buyer will assume
                                               10344186        0                                             true   0      FL          1031726   up to $ of seller's    test tbd4
                                                                                                                                                 closing cost.




                                                               010850-000146-61766   Amanda Finley | Flori




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              “AS IS” Residential Contract For Sale And Purchase
              THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR

     1*                                                          ESTATE HOMES LLC
              PARTIES:______________________________________________________________________________                           ("Seller"),
     2*                                                          JLM Land Trust
              and ___________________________________________________________________________________("Buyer"),
     3        agree that Seller shall sell and Buyer shall buy the following described Real Property and Personal Property
     4        (collectively “Property”) pursuant to the terms and conditions of this AS IS Residential Contract For Sale And
     5        Purchase and any riders and addenda (“Contract”):
     6        1. PROPERTY DESCRIPTION:
     7*                                                            300 Royal Plaza Drive Fort Lauderdale, FL 33301
                   (a) Street address, city, zip:_____________________________________________________________________
     8*                                           Broward
                   (b) Property is located in: ___________                                                       5042 12 14 0010
                                                             County, Florida. Real Property Tax ID No.:________________________
     9*                                                        Lot 1, Plus the North 10.58 feet of Lot 2, Block 2, of STILLWELL
                   (c) Real Property: The legal description is_________________________________________________________
    10                 ISLES,  according to the Plat thereof, recorded in Plat Book 15, Page 26, of the Public Records of Broward
                       ________________________________________________________________________________________
    11                 County,  Florida.
                       ________________________________________________________________________________________
    12                 together with all existing improvements and fixtures, including built-in appliances, built-in furnishings and
    13                 attached wall-to-wall carpeting and flooring (“Real Property”) unless specifically excluded in Paragraph 1(e) or
    14                 by other terms of this Contract.
    15             (d) Personal Property: Unless excluded in Paragraph 1(e) or by other terms of this Contract, the following items
    16                 which are owned by Seller and existing on the Property as of the date of the initial offer are included in the
    17                 purchase: range(s)/oven(s), refrigerator(s), dishwasher(s), disposal, ceiling fan(s), intercom, light fixture(s),
    18                 drapery rods and draperies, blinds, window treatments, smoke detector(s), garage door opener(s), security
    19                 gate and other access devices, and storm shutters/panels ("Personal Property").
    20*                                                                               All appliances
                       Other Personal Property items included in this purchase are:________________________________________
    21                 ________________________________________________________________________________________
    22                 Personal Property is included in the Purchase Price, has no contributory value, and shall be left for the Buyer.
    23*                                                                       NA
                   (e) The following items are excluded from the purchase:______________________________________________
    24                 ________________________________________________________________________________________
    25                                                                                                       PURCHASE PRICE AND CLOSING
    26*                                                                                                                                           5,250,000.00
              2. PURCHASE PRICE (U.S. currency):...............................................................................................$_____________
    27*          (a) Initial deposit to be held in escrow in the amount of (checks subject to COLLECTION) .......$_____________                                150,000.00
    28               The initial deposit made payable and delivered to “Escrow Agent” named below
    29*              (CHECK ONE): (i)        accompanies offer or (ii) ✖ is to be made within _____                        3 (if left
    30               blank, then 3) days after Effective Date. IF NEITHER BOX IS CHECKED, THEN
    31               OPTION (ii) SHALL BE DEEMED SELECTED.
    32*
                                                                                    Florida Coastal Realty Group
                     Escrow Agent Information: Name: ______________________________________________
    33*                                       3900   E.  Indiantown        Rd.    Ste.   607-179 Jupiter, FL 33477
                     Address:___________________________________________________________________
    34*                        561-277-8490                       peggy@flcoastalrealty.com
                     Phone:_____________E-mail:__________________________________Fax:_____________                                866-890-2458
    35*          (b) Additional deposit to be delivered to Escrow Agent within __________                 16           (if left blank, then 10)
    36*                                                                                                                                                        250,000.00
                     days after Effective Date .......................................................................................................... $_____________
    37               (All deposits paid or agreed to be paid, are collectively referred to as the “Deposit”)
    38*          (c) Financing: Express as a dollar amount or percentage (“Loan Amount”) see Paragraph 8 ........._____________
    39*          (d) Other:____________________________________________________________ ................$_____________
    40           (e) Balance to close (not including Buyer’s closing costs, prepaids and prorations) by wire
    41*              transfer or other COLLECTED funds .......................................................................................$_____________ 4,850,000.00
    42               NOTE: For the definition of “COLLECTION” or “COLLECTED” see STANDARD S.
    43        3. TIME FOR ACCEPTANCE OF OFFER AND COUNTER-OFFERS; EFFECTIVE DATE:
    44           (a) If not signed by Buyer and Seller, and an executed copy delivered to all parties on or before
    45*                       June 17, 2016
                     _______________________,          this offer shall be deemed withdrawn and the Deposit, if any, shall be returned
    46               to Buyer. Unless otherwise stated, time for acceptance of any counter-offers shall be within 2 days after the
    47               day the counter-offer is delivered.
    48           (b) The effective date of this Contract shall be the date when the last one of the Buyer and Seller has signed or
    49               initialed and delivered this offer or final counter-offer (“Effective Date”).
    50        4. CLOSING DATE: Unless modified by other provisions of this Contract, the closing of this transaction shall occur
    51           and the closing documents required to be furnished by each party pursuant to this Contract shall be delivered
    52*                                 or before July 15, 2016
                 (“Closing”) on _____________________________                     (“Closing Date”), at the time established by the Closing Agent.



                                 JM
              Buyer’s Initials ________ _________
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                                                                                                                                                                                    Seller’s Initials _________ _________
                                                                                                                                                                                                    Jun 17, 2016
         Serial#: 010850-000146-6176684

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    53        5. EXTENSION OF CLOSING DATE:
    54           (a) If Paragraph 8(b) is checked and Closing funds from Buyer’s lender(s) are not available on Closing Date due
    55                to Consumer Financial Protection Bureau Closing Disclosure delivery requirements (“CFPB Requirements”),
    56                then Closing Date shall be extended for such period necessary to satisfy CFPB Requirements, provided such
    57                period shall not exceed 10 days.
    58           (b) If extreme weather or other condition or event constituting “Force Majeure” (see STANDARD G) causes: (i)
    59                disruption of utilities or other services essential for Closing or (ii) Hazard, Wind, Flood or Homeowners’
    60                insurance, to become unavailable prior to Closing, Closing shall be extended a reasonable time up to 3 days
    61                after restoration of utilities and other services essential to Closing and availability of applicable Hazard, Wind,
    62                Flood or Homeowners’ insurance. If restoration of such utilities or services and availability of insurance has
    63*               not occurred within _______ (if left blank, then 14) days after Closing Date, then either party may terminate
    64                this Contract by delivering written notice to the other party, and Buyer shall be refunded the Deposit, thereby
    65                releasing Buyer and Seller from all further obligations under this Contract.
    66        6. OCCUPANCY AND POSSESSION:
    67           (a) Unless the box in Paragraph 6(b) is checked, Seller shall, at Closing, deliver occupancy and possession of
    68                the Property to Buyer free of tenants, occupants and future tenancies. Also, at Closing, Seller shall have
    69                removed all personal items and trash from the Property and shall deliver all keys, garage door openers,
    70                access devices and codes, as applicable, to Buyer. If occupancy is to be delivered before Closing, Buyer
    71                assumes all risks of loss to the Property from date of occupancy, shall be responsible and liable for
    72                maintenance from that date, and shall be deemed to have accepted the Property in its existing condition as of
    73                time of taking occupancy.
    74*          (b)      CHECK IF PROPERTY IS SUBJECT TO LEASE(S) OR OCCUPANCY AFTER CLOSING. If Property is
    75                subject to a lease(s) after Closing or is intended to be rented or occupied by third parties beyond Closing, the
    76                facts and terms thereof shall be disclosed in writing by Seller to Buyer and copies of the written lease(s) shall
    77                be delivered to Buyer, all within 5 days after Effective Date. If Buyer determines, in Buyer’s sole discretion,
    78                that the lease(s) or terms of occupancy are not acceptable to Buyer, Buyer may terminate this Contract by
    79                delivery of written notice of such election to Seller within 5 days after receipt of the above items from Seller,
    80                and Buyer shall be refunded the Deposit thereby releasing Buyer and Seller from all further obligations under
    81                this Contract. Estoppel Letter(s) and Seller’s affidavit shall be provided pursuant to STANDARD D. If Property
    82                is intended to be occupied by Seller after Closing, see Rider U. POST-CLOSING OCCUPANCY BY SELLER.
    83*       7. ASSIGNABILITY: (CHECK ONE): Buyer                 may assign and thereby be released from any further liability under
    84*          this Contract; ✖ may assign but not be released from liability under this Contract; or               may not assign this
    85           Contract.
    86                                                                                    FINANCING
    87        8. FINANCING:
    88*          ✖ (a) Buyer will pay cash for the purchase of the Property at Closing. There is no financing contingency to
    89           Buyer’s obligation to close. If Buyer obtains a loan for any part of the Purchase Price of the Property, Buyer
    90           acknowledges that any terms and conditions imposed by Buyer’s lender(s) or by CFPB Requirements shall not
    91           affect or extend the Buyer’s obligation to close or otherwise affect any terms or conditions of this Contract.
    92*               (b) This Contract is contingent upon Buyer obtaining a written loan commitment for a        conventional      FHA
    93*          ___VA or        other ______________ (describe) loan on the following terms within _______ (if left blank, then 45)
    94*          days after Effective Date (“Loan Commitment Date”) for (CHECK ONE):                fixed,    adjustable,       fixed or
    95*          adjustable rate loan in the Loan Amount (See Paragraph 2(c)), at an initial interest rate not to exceed _______ %
    96*          (if left blank, then prevailing rate based upon Buyer’s creditworthiness), and for a term of _______(if left blank,
    97           then 30) years (“Financing”).

    98*             Buyer shall make mortgage loan application for the Financing within _______ (if left blank, then 5) days after
    99              Effective Date and use good faith and diligent effort to obtain a written loan commitment for the Financing (“Loan
   100              Commitment”) and thereafter to close this Contract. Buyer shall keep Seller and Broker fully informed about the
   101              status of mortgage loan application and Loan Commitment and authorizes Buyer’s mortgage broker and Buyer’s
   102              lender to disclose such status and progress to Seller and Broker.
   103
   104              Upon Buyer’s receipt of Loan Commitment, Buyer shall provide written notice of same to Seller. If Buyer does not
   105              receive Loan Commitment by Loan Commitment Date, then thereafter either party may cancel this Contract up to
   106              the earlier of:




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   107                        (i.) Buyer’s delivery of written notice to Seller that Buyer has either received Loan Commitment or elected
   108                              to waive the financing contingency of this Contract; or
   109                        (ii.) 7 days prior to the Closing Date specified in Paragraph 4, which date, for purposes of this Paragraph
   110                              8(b) (ii), shall not be modified by Paragraph 5(a).
   111              If either party timely cancels this Contract pursuant to this Paragraph 8 and Buyer is not in default under the terms
   112              of this Contract, Buyer shall be refunded the Deposit thereby releasing Buyer and Seller from all further
   113              obligations under this Contract. If neither party has timely canceled this Contract pursuant to this Paragraph 8,
   114              then this financing contingency shall be deemed waived by Buyer.
   115              If Buyer delivers written notice of receipt of Loan Commitment to Seller and this Contract does not thereafter
   116              close, the Deposit shall be paid to Seller unless failure to close is due to: (1) Seller’s default; (2) Property related
   117              conditions of the Loan Commitment have not been met (except when such conditions are waived by other
   118              provisions of this Contract); (3) appraisal of the Property obtained by Buyer’s lender is insufficient to meet terms
   119              of the Loan Commitment; or (4) the loan is not funded due to financial failure of Buyer’s lender, in which event(s)
   120              the Deposit shall be returned to Buyer, thereby releasing Buyer and Seller from all further obligations under this
   121              Contract.
   122*                 (c) Assumption of existing mortgage (see rider for terms).
   123*                 (d) Purchase money note and mortgage to Seller (see riders; addenda; or special clauses for terms).
   124                                                            CLOSING COSTS, FEES AND CHARGES
   125        9. CLOSING COSTS; TITLE INSURANCE; SURVEY; HOME WARRANTY; SPECIAL ASSESSMENTS:
   126           (a) COSTS TO BE PAID BY SELLER:
   127            • Documentary stamp taxes and surtax on deed, if any                 • HOA/Condominium Association estoppel fees
   128            • Owner’s Policy and Charges (if Paragraph 9(c) (i) is checked) • Recording and other fees needed to cure title
   129            • Title search charges (if Paragraph 9(c) (iii) is checked)          • Seller’s attorneys’ fees
   130*           • Municipal lien search (if Paragraph 9(c) (i) or (iii) is checked)  • Other:________________________________
   131                If, prior to Closing, Seller is unable to meet the AS IS Maintenance Requirement as required by Paragraph 11
   132                a sum equal to 125% of estimated costs to meet the AS IS Maintenance Requirement shall be escrowed at
   133                Closing. If actual costs to meet the AS IS Maintenance Requirement exceed escrowed amount, Seller shall
   134                pay such actual costs. Any unused portion of escrowed amount(s) shall be returned to Seller.
   135           (b) COSTS TO BE PAID BY BUYER:
   136            • Taxes and recording fees on notes and mortgages                     • Loan expenses
   137            • Recording fees for deed and financing statements                    • Appraisal fees
   138            • Owner’s Policy and Charges (if Paragraph 9(c)(ii) is checked)       • Buyer’s Inspections
   139            • Survey (and elevation certification, if required)                   • Buyer’s attorneys’ fees
   140            • Lender’s title policy and endorsements                              • All property related insurance
   141            • HOA/Condominium Association application/transfer fees               • Owner’s Policy Premium (if Paragraph
   142            • Municipal lien search (if Paragraph 9(c) (ii) is checked)             9 (c) (iii) is checked.)
   143*           • Other: _________________________________________
   144*          (c) TITLE EVIDENCE AND INSURANCE: At least ______ (if left blank, then 15, or if Paragraph 8(a) is checked,
   145                then 5) days prior to Closing Date (“Title Evidence Deadline”), a title insurance commitment issued by a
   146                Florida licensed title insurer, with legible copies of instruments listed as exceptions attached thereto (“Title
   147                Commitment”) and, after Closing, an owner’s policy of title insurance (see STANDARD A for terms) shall be
   148                obtained and delivered to Buyer. If Seller has an owner’s policy of title insurance covering the Real Property,
   149                a copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date. The owner’s title
   150                policy premium, title search and closing services (collectively, “Owner’s Policy and Charges”) shall be paid, as
   151                set forth below. The title insurance premium charges for the owner’s policy and any lender’s policy will be
   152                calculated and allocated in accordance with Florida law, but may be reported differently on certain federally
   153                mandated closing disclosures and other closing documents.
   154                (CHECK ONE):
   155*                    (i) Seller shall designate Closing Agent and pay for Owner’s Policy and Charges, and Buyer shall pay the
   156                premium for Buyer’s lender’s policy and charges for closing services related to the lender’s policy,
   157                endorsements and loan closing, which amounts shall be paid by Buyer to Closing Agent or such other
   158                provider(s) as Buyer may select; or
   159*                    (ii) Buyer shall designate Closing Agent and pay for Owner’s Policy and Charges and charges for closing
   160                services related to Buyer’s lender’s policy, endorsements and loan closing; or
   161*                ✖ (iii) [MIAMI-DADE/BROWARD REGIONAL PROVISION]: Seller shall furnish a copy of a prior owner’s
   162                policy of title insurance or other evidence of title and pay fees for: (A) a continuation or update of such title


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   163                  evidence, which is acceptable to Buyer’s title insurance underwriter for reissue of coverage; (B) tax search;
   164                  and (C) municipal lien search. Buyer shall obtain and pay for post-Closing continuation and premium for
   165                  Buyer’s owner’s policy, and if applicable, Buyer’s lender’s policy. Seller shall not be obligated to pay more
   166*                 than $ 400.00
                                 _____________ (if left blank, then $200.00) for abstract continuation or title search ordered or
   167                  performed by Closing Agent.
   168              (d) SURVEY: On or before Title Evidence Deadline, Buyer may, at Buyer’s expense, have the Real Property
   169                  surveyed and certified by a registered Florida surveyor (“Survey”). If Seller has a survey covering the Real
   170                  Property, a copy shall be furnished to Buyer and Closing Agent within 5 days after Effective Date.
   171*             (e) HOME WARRANTY: At Closing,             Buyer      Seller ✖ N/A shall pay for a home warranty plan issued by
   172*                 ___________________________________________ at a cost not to exceed $_________________. A home
   173                  warranty plan provides for repair or replacement of many of a home’s mechanical systems and major built-in
   174                  appliances in the event of breakdown due to normal wear and tear during the agreement’s warranty period.
   175              (f) SPECIAL ASSESSMENTS: At Closing, Seller shall pay: (i) the full amount of liens imposed by a public body
   176                  (“public body” does not include a Condominium or Homeowner’s Association) that are certified, confirmed and
   177                  ratified before Closing; and (ii) the amount of the public body’s most recent estimate or assessment for an
   178                  improvement which is substantially complete as of Effective Date, but that has not resulted in a lien being
   179                  imposed on the Property before Closing. Buyer shall pay all other assessments. If special assessments may
   180                  be paid in installments (CHECK ONE):
   181*                     (a) Seller shall pay installments due prior to Closing and Buyer shall pay installments due after Closing.
   182                  Installments prepaid or due for the year of Closing shall be prorated.
   183*                  ✖ (b) Seller shall pay the assessment(s) in full prior to or at the time of Closing.
   184                  IF NEITHER BOX IS CHECKED, THEN OPTION (a) SHALL BE DEEMED SELECTED.
   185                  This Paragraph 9(f) shall not apply to a special benefit tax lien imposed by a community development district
   186                  (CDD) pursuant to Chapter 190, F.S., which lien shall be prorated pursuant to STANDARD K.
   187                                                                               DISCLOSURES
   188        10. DISCLOSURES:
   189            (a) .RADON GAS: Radon is a naturally occurring radioactive gas that, when it is accumulated in a building in
   190                 sufficient quantities, may present health risks to persons who are exposed to it over time. Levels of radon that
   191                 exceed federal and state guidelines have been found in buildings in Florida. Additional information regarding
   192                 radon and radon testing may be obtained from your county health department.
   193            (b) .PERMITS DISCLOSURE: Except as may have been disclosed by Seller to Buyer in a written disclosure,
   194                 Seller does not know of any improvements made to the Property which were made without required permits
   195                 or made pursuant to permits which have not been properly closed.
   196            (c) MOLD: Mold is naturally occurring and may cause health risks or damage to property. If Buyer is concerned
   197                 or desires additional information regarding mold, Buyer should contact an appropriate professional.
   198            (d) FLOOD ZONE; ELEVATION CERTIFICATION: Buyer is advised to verify by elevation certificate which flood
   199                 zone the Property is in, whether flood insurance is required by Buyer’s lender, and what restrictions apply to
   200                 improving the Property and rebuilding in the event of casualty. If Property is in a “Special Flood Hazard Area”
   201                 or “Coastal Barrier Resources Act” designated area or otherwise protected area identified by the U.S. Fish
   202                 and Wildlife Service under the Coastal Barrier Resources Act and the lowest floor elevation for the building(s)
   203                 and /or flood insurance rating purposes is below minimum flood elevation or is ineligible for flood insurance
   204                 coverage through the National Flood Insurance Program or private flood insurance as defined in 42 U.S.C.
   205                 §4012a, Buyer may terminate this Contract by delivering written notice to Seller within _____ (if left blank,
   206*                then 20) days after Effective Date, and Buyer shall be refunded the Deposit thereby releasing Buyer and
   207                 Seller from all further obligations under this Contract, failing which Buyer accepts existing elevation of
   208                 buildings and flood zone designation of Property. The National Flood Insurance Program may assess
   209                 additional fees or adjust premiums for pre-Flood Insurance Rate Map (pre-FIRM) non-primary structures
   210                 (residential structures in which the insured or spouse does not reside for at least 50% of the year) and an
   211                 elevation certificate may be required for actuarial rating.
   212            (e) ENERGY BROCHURE: Buyer acknowledges receipt of Florida Energy-Efficiency Rating Information
   213                 Brochure required by Section 553.996, F.S.
   214            (f) LEAD-BASED PAINT: If Property includes pre-1978 residential housing, a lead-based paint disclosure is
   215                 mandatory.
   216            (g) HOMEOWNERS’ ASSOCIATION/COMMUNITY DISCLOSURE: BUYER SHOULD NOT EXECUTE THIS
   217                 CONTRACT           UNTIL     BUYER       HAS       RECEIVED      AND      READ        THE      HOMEOWNERS’
   218                 ASSOCIATION/COMMUNITY DISCLOSURE, IF APPLICABLE.


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   219              (h) PROPERTY TAX DISCLOSURE SUMMARY: BUYER SHOULD NOT RELY ON THE SELLER’S CURRENT
   220                  PROPERTY TAXES AS THE AMOUNT OF PROPERTY TAXES THAT THE BUYER MAY BE OBLIGATED
   221                  TO PAY IN THE YEAR SUBSEQUENT TO PURCHASE. A CHANGE OF OWNERSHIP OR PROPERTY
   222                  IMPROVEMENTS TRIGGERS REASSESSMENTS OF THE PROPERTY THAT COULD RESULT IN
   223                  HIGHER PROPERTY TAXES. IF YOU HAVE ANY QUESTIONS CONCERNING VALUATION, CONTACT
   224                  THE COUNTY PROPERTY APPRAISER’S OFFICE FOR INFORMATION.
   225              (i) FIRPTA TAX WITHHOLDING: Seller shall inform Buyer in writing if Seller is a “foreign person” as defined by
   226                  the Foreign Investment in Real Property Tax Act (“FIRPTA”). Buyer and Seller shall comply with FIRPTA,
   227                  which may require Seller to provide additional cash at Closing. If Seller is not a “foreign person”, Seller can
   228                  provide Buyer, at or prior to Closing, a certification of non-foreign status, under penalties of perjury, to inform
   229                  Buyer and Closing Agent that no withholding is required. See STANDARD V for further information pertaining
   230                  to FIRPTA. Buyer and Seller are advised to seek legal counsel and tax advice regarding their respective
   231                  rights, obligations, reporting and withholding requirements pursuant to FIRPTA.
   232              (j) SELLER DISCLOSURE: Seller knows of no facts materially affecting the value of the Real Property which
   233                  are not readily observable and which have not been disclosed to Buyer. Except as provided for in the
   234                  preceding sentence, Seller extends and intends no warranty and makes no representation of any type, either
   235                  express or implied, as to the physical condition or history of the Property. Except as otherwise disclosed in
   236                  writing Seller has received no written or verbal notice from any governmental entity or agency as to a
   237                  currently uncorrected building, environmental or safety code violation.
   238                                    PROPERTY MAINTENANCE, CONDITION, INSPECTIONS AND EXAMINATIONS
   239        11. PROPERTY MAINTENANCE: Except for ordinary wear and tear and Casualty Loss, Seller shall maintain the
   240            Property, including, but not limited to, lawn, shrubbery, and pool, in the condition existing as of Effective Date (“AS
   241            IS Maintenance Requirement”).


   242        12. PROPERTY INSPECTION; RIGHT TO CANCEL:
   243*           (a) PROPERTY INSPECTIONS AND RIGHT TO CANCEL: Buyer shall have ______                  15   (if left blank, then 15)
   244                days after Effective Date (“Inspection Period”) within which to have such inspections of the Property
   245                performed as Buyer shall desire during the Inspection Period. If Buyer determines, in Buyer’s sole
   246                discretion, that the Property is not acceptable to Buyer, Buyer may terminate this Contract by
   247                delivering written notice of such election to Seller prior to expiration of Inspection Period. If Buyer
   248                timely terminates this Contract, the Deposit paid shall be returned to Buyer, thereupon, Buyer and
   249                Seller shall be released of all further obligations under this Contract; however, Buyer shall be
   250                responsible for prompt payment for such inspections, for repair of damage to, and restoration of, the
   251                Property resulting from such inspections, and shall provide Seller with paid receipts for all work done
   252                on the Property (the preceding provision shall survive termination of this Contract). Unless Buyer
   253                exercises the right to terminate granted herein, Buyer accepts the physical condition of the Property
   254                and any violation of governmental, building, environmental, and safety codes, restrictions, or
   255                requirements, but subject to Seller’s continuing AS IS Maintenance Requirement, and Buyer shall be
   256                responsible for any and all repairs and improvements required by Buyer’s lender.
   257            (b) WALK-THROUGH INSPECTION/RE-INSPECTION: On the day prior to Closing Date, or on Closing Date
   258                prior to time of Closing, as specified by Buyer, Buyer or Buyer’s representative may perform a walk-through
   259                (and follow-up walk-through, if necessary) inspection of the Property solely to confirm that all items of
   260                Personal Property are on the Property and to verify that Seller has maintained the Property as required by the
   261                AS IS Maintenance Requirement and has met all other contractual obligations.
   262            (c) SELLER ASSISTANCE AND COOPERATION IN CLOSE-OUT OF BUILDING PERMITS: If Buyer’s
   263                inspection of the Property identifies open or needed building permits, then Seller shall promptly deliver to
   264                Buyer all plans, written documentation or other information in Seller’s possession, knowledge, or control
   265                relating to improvements to the Property which are the subject of such open or needed Permits, and shall
   266                promptly cooperate in good faith with Buyer’s efforts to obtain estimates of repairs or other work necessary to
   267                resolve such Permit issues. Seller’s obligation to cooperate shall include Seller’s execution of necessary
   268                authorizations, consents, or other documents necessary for Buyer to conduct inspections and have estimates
   269                of such repairs or work prepared, but in fulfilling such obligation, Seller shall not be required to expend, or
   270                become obligated to expend, any money.




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   271              (d) ASSIGNMENT OF REPAIR AND TREATMENT CONTRACTS AND WARRANTIES: At Buyer’s option and
   272                  cost, Seller will, at Closing, assign all assignable repair, treatment and maintenance contracts and warranties
   273                  to Buyer.
   274                                                                        ESCROW AGENT AND BROKER
   275        13. ESCROW AGENT: Any Closing Agent or Escrow Agent (collectively “Agent”) receiving the Deposit, other funds
   276            and other items is authorized, and agrees by acceptance of them, to deposit them promptly, hold same in escrow
   277            within the State of Florida and, subject to COLLECTION, disburse them in accordance with terms and conditions
   278            of this Contract. Failure of funds to become COLLECTED shall not excuse Buyer’s performance. When conflicting
   279            demands for the Deposit are received, or Agent has a good faith doubt as to entitlement to the Deposit, Agent
   280            may take such actions permitted by this Paragraph 13, as Agent deems advisable. If in doubt as to Agent’s duties
   281            or liabilities under this Contract, Agent may, at Agent’s option, continue to hold the subject matter of the escrow
   282            until the parties agree to its disbursement or until a final judgment of a court of competent jurisdiction shall
   283            determine the rights of the parties, or Agent may deposit same with the clerk of the circuit court having jurisdiction
   284            of the dispute. An attorney who represents a party and also acts as Agent may represent such party in such
   285            action. Upon notifying all parties concerned of such action, all liability on the part of Agent shall fully terminate,
   286            except to the extent of accounting for any items previously delivered out of escrow. If a licensed real estate
   287            broker, Agent will comply with provisions of Chapter 475, F.S., as amended and FREC rules to timely resolve
   288            escrow disputes through mediation, arbitration, interpleader or an escrow disbursement order.
   289            Any proceeding between Buyer and Seller wherein Agent is made a party because of acting as Agent hereunder,
   290            or in any proceeding where Agent interpleads the subject matter of the escrow, Agent shall recover reasonable
   291            attorney’s fees and costs incurred, to be paid pursuant to court order out of the escrowed funds or equivalent.
   292            Agent shall not be liable to any party or person for mis-delivery of any escrowed items, unless such mis-delivery is
   293            due to Agent’s willful breach of this Contract or Agent’s gross negligence. This Paragraph 13 shall survive Closing
   294            or termination of this Contract.
   295        14. PROFESSIONAL ADVICE; BROKER LIABILITY: Broker advises Buyer and Seller to verify Property condition,
   296            square footage, and all other facts and representations made pursuant to this Contract and to consult appropriate
   297            professionals for legal, tax, environmental, and other specialized advice concerning matters affecting the Property
   298            and the transaction contemplated by this Contract. Broker represents to Buyer that Broker does not reside on the
   299            Property and that all representations (oral, written or otherwise) by Broker are based on Seller representations or
   300            public records. BUYER AGREES TO RELY SOLELY ON SELLER, PROFESSIONAL INSPECTORS AND
   301            GOVERNMENTAL AGENCIES FOR VERIFICATION OF PROPERTY CONDITION, SQUARE FOOTAGE AND
   302            FACTS THAT MATERIALLY AFFECT PROPERTY VALUE AND NOT ON THE REPRESENTATIONS (ORAL,
   303            WRITTEN OR OTHERWISE) OF BROKER. Buyer and Seller (individually, the “Indemnifying Party”) each
   304            individually indemnifies, holds harmless, and releases Broker and Broker’s officers, directors, agents and
   305            employees from all liability for loss or damage, including all costs and expenses, and reasonable attorney’s fees
   306            at all levels, suffered or incurred by Broker and Broker’s officers, directors, agents and employees in connection
   307            with or arising from claims, demands or causes of action instituted by Buyer or Seller based on: (i) inaccuracy of
   308            information provided by the Indemnifying Party or from public records; (ii) Indemnifying Party’s misstatement(s) or
   309            failure to perform contractual obligations; (iii) Broker’s performance, at Indemnifying Party’s request, of any task
   310            beyond the scope of services regulated by Chapter 475, F.S., as amended, including Broker’s referral,
   311            recommendation or retention of any vendor for, or on behalf of Indemnifying Party; (iv) products or services
   312            provided by any such vendor for, or on behalf of, Indemnifying Party; and (v) expenses incurred by any such
   313            vendor. Buyer and Seller each assumes full responsibility for selecting and compensating their respective vendors
   314            and paying their other costs under this Contract whether or not this transaction closes. This Paragraph 14 will not
   315            relieve Broker of statutory obligations under Chapter 475, F.S., as amended. For purposes of this Paragraph 14,
   316            Broker will be treated as a party to this Contract. This Paragraph 14 shall survive Closing or termination of this
   317            Contract.
   318                                                             DEFAULT AND DISPUTE RESOLUTION
   319        15. DEFAULT:
   320            (a) BUYER DEFAULT: If Buyer fails, neglects or refuses to perform Buyer’s obligations under this Contract,
   321                including payment of the Deposit, within the time(s) specified, Seller may elect to recover and retain the
   322                Deposit for the account of Seller as agreed upon liquidated damages, consideration for execution of this
   323                Contract, and in full settlement of any claims, whereupon Buyer and Seller shall be relieved from all further
   324                obligations under this Contract, or Seller, at Seller’s option, may, pursuant to Paragraph 16, proceed in equity
   325                to enforce Seller’s rights under this Contract. The portion of the Deposit, if any, paid to Listing Broker upon


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                                                                                                                                 Seller’s Initials _________ _________
                                                                                                                                             Jun 17, 2016
         Serial#: 010850-000146-6176684

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   326                 default by Buyer, shall be split equally between Listing Broker and Cooperating Broker; provided however,
   327                 Cooperating Broker’s share shall not be greater than the commission amount Listing Broker had agreed to
   328                 pay to Cooperating Broker.
   329            (b) SELLER DEFAULT: If for any reason other than failure of Seller to make Seller’s title marketable after
   330                 reasonable diligent effort, Seller fails, neglects or refuses to perform Seller’s obligations under this Contract,
   331                 Buyer may elect to receive return of Buyer’s Deposit without thereby waiving any action for damages resulting
   332                 from Seller’s breach, and, pursuant to Paragraph 16, may seek to recover such damages or seek specific
   333                 performance.
   334            This Paragraph 15 shall survive Closing or termination of this Contract.
   335        16. DISPUTE RESOLUTION: Unresolved controversies, claims and other matters in question between Buyer and
   336            Seller arising out of, or relating to, this Contract or its breach, enforcement or interpretation (“Dispute”) will be
   337            settled as follows:
   338            (a) Buyer and Seller will have 10 days after the date conflicting demands for the Deposit are made to attempt to
   339                 resolve such Dispute, failing which, Buyer and Seller shall submit such Dispute to mediation under Paragraph
   340                 16(b).
   341            (b) Buyer and Seller shall attempt to settle Disputes in an amicable manner through mediation pursuant to Florida
   342                 Rules for Certified and Court-Appointed Mediators and Chapter 44, F.S., as amended (the “Mediation Rules”).
   343                 The mediator must be certified or must have experience in the real estate industry. Injunctive relief may be
   344                 sought without first complying with this Paragraph 16(b). Disputes not settled pursuant to this Paragraph 16
   345                 may be resolved by instituting action in the appropriate court having jurisdiction of the matter. This Paragraph
   346                 16 shall survive Closing or termination of this Contract.
   347        17. ATTORNEY’S FEES; COSTS: The parties will split equally any mediation fee incurred in any mediation permitted
   348            by this Contract, and each party will pay their own costs, expenses and fees, including attorney’s fees, incurred in
   349            conducting the mediation. In any litigation permitted by this Contract, the prevailing party shall be entitled to
   350            recover from the non-prevailing party costs and fees, including reasonable attorney’s fees, incurred in conducting
   351            the litigation. This Paragraph 17 shall survive Closing or termination of this Contract.
   352                                      STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”)
   353        18. STANDARDS:
   354            A. TITLE:
   355            (i) TITLE EVIDENCE; RESTRICTIONS; EASEMENTS; LIMITATIONS: Within the time period provided in
   356            Paragraph 9(c), the Title Commitment, with legible copies of instruments listed as exceptions attached thereto,
   357            shall be issued and delivered to Buyer. The Title Commitment shall set forth those matters to be discharged by
   358            Seller at or before Closing and shall provide that, upon recording of the deed to Buyer, an owner’s policy of title
   359            insurance in the amount of the Purchase Price, shall be issued to Buyer insuring Buyer’s marketable title to the
   360            Real Property, subject only to the following matters: (a) comprehensive land use plans, zoning, and other land
   361            use restrictions, prohibitions and requirements imposed by governmental authority; (b) restrictions and matters
   362            appearing on the Plat or otherwise common to the subdivision; (c) outstanding oil, gas and mineral rights of
   363            record without right of entry; (d) unplatted public utility easements of record (located contiguous to real property
   364            lines and not more than 10 feet in width as to rear or front lines and 7 1/2 feet in width as to side lines); (e) taxes
   365            for year of Closing and subsequent years; and (f) assumed mortgages and purchase money mortgages, if any (if
   366            additional items, attach addendum); provided, that, none prevent use of Property for RESIDENTIAL PURPOSES.
   367            If there exists at Closing any violation of items identified in (b) – (f) above, then the same shall be deemed a title
   368            defect. Marketable title shall be determined according to applicable Title Standards adopted by authority of The
   369            Florida Bar and in accordance with law.
   370            (ii) TITLE EXAMINATION: Buyer shall have 5 days after receipt of Title Commitment to examine it and notify
   371            Seller in writing specifying defect(s), if any, that render title unmarketable. If Seller provides Title Commitment and
   372            it is delivered to Buyer less than 5 days prior to Closing Date, Buyer may extend Closing for up to 5 days after
   373            date of receipt to examine same in accordance with this STANDARD A. Seller shall have 30 days (“Cure Period”)
   374            after receipt of Buyer’s notice to take reasonable diligent efforts to remove defects. If Buyer fails to so notify
   375            Seller, Buyer shall be deemed to have accepted title as it then is. If Seller cures defects within Cure Period, Seller
   376            will deliver written notice to Buyer (with proof of cure acceptable to Buyer and Buyer’s attorney) and the parties
   377            will close this Contract on Closing Date (or if Closing Date has passed, within 10 days after Buyer’s receipt of
   378            Seller’s notice). If Seller is unable to cure defects within Cure Period, then Buyer may, within 5 days after
   379            expiration of Cure Period, deliver written notice to Seller: (a) extending Cure Period for a specified period not to
   380            exceed 120 days within which Seller shall continue to use reasonable diligent effort to remove or cure the defects
   381            (“Extended Cure Period”); or (b) electing to accept title with existing defects and close this Contract on Closing


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                                     STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

   382              Date (or if Closing Date has passed, within the earlier of 10 days after end of Extended Cure Period or Buyer’s
   383              receipt of Seller’s notice), or (c) electing to terminate this Contract and receive a refund of the Deposit, thereby
   384              releasing Buyer and Seller from all further obligations under this Contract. If after reasonable diligent effort, Seller
   385              is unable to timely cure defects, and Buyer does not waive the defects, this Contract shall terminate, and Buyer
   386              shall receive a refund of the Deposit, thereby releasing Buyer and Seller from all further obligations under this
   387              Contract.
   388              B. SURVEY: If Survey discloses encroachments on the Real Property or that improvements located thereon
   389              encroach on setback lines, easements, or lands of others, or violate any restrictions, covenants, or applicable
   390              governmental regulations described in STANDARD A (i)(a), (b) or (d) above, Buyer shall deliver written notice of
   391              such matters, together with a copy of Survey, to Seller within 5 days after Buyer’s receipt of Survey, but no later
   392              than Closing. If Buyer timely delivers such notice and Survey to Seller, such matters identified in the notice and
   393              Survey shall constitute a title defect, subject to cure obligations of STANDARD A above. If Seller has delivered a
   394              prior survey, Seller shall, at Buyer’s request, execute an affidavit of “no change” to the Real Property since the
   395              preparation of such prior survey, to the extent the affirmations therein are true and correct.
   396              C. INGRESS AND EGRESS: Seller represents that there is ingress and egress to the Real Property and title to
   397              the Real Property is insurable in accordance with STANDARD A without exception for lack of legal right of
   398              access.
   399              D. LEASE INFORMATION: Seller shall, at least 10 days prior to Closing, furnish to Buyer estoppel letters from
   400              tenant(s)/occupant(s) specifying nature and duration of occupancy, rental rates, advanced rent and security
   401              deposits paid by tenant(s) or occupant(s)(“Estoppel Letter(s)”). If Seller is unable to obtain such Estoppel Letter(s)
   402              the same information shall be furnished by Seller to Buyer within that time period in the form of a Seller’s affidavit
   403              and Buyer may thereafter contact tenant(s) or occupant(s) to confirm such information. If Estoppel Letter(s) or
   404              Seller’s affidavit, if any, differ materially from Seller’s representations and lease(s) provided pursuant to
   405              Paragraph 6, or if tenant(s)/occupant(s) fail or refuse to confirm Seller’s affidavit, Buyer may deliver written notice
   406              to Seller within 5 days after receipt of such information, but no later than 5 days prior to Closing Date, terminating
   407              this Contract and receive a refund of the Deposit, thereby releasing Buyer and Seller from all further obligations
   408              under this Contract. Seller shall, at Closing, deliver and assign all leases to Buyer who shall assume Seller’s
   409              obligations thereunder.
   410              E. LIENS: Seller shall furnish to Buyer at Closing an affidavit attesting (i) to the absence of any financing
   411              statement, claims of lien or potential lienors known to Seller and (ii) that there have been no improvements or
   412              repairs to the Real Property for 90 days immediately preceding Closing Date. If the Real Property has been
   413              improved or repaired within that time, Seller shall deliver releases or waivers of construction liens executed by all
   414              general contractors, subcontractors, suppliers and materialmen in addition to Seller’s lien affidavit setting forth
   415              names of all such general contractors, subcontractors, suppliers and materialmen, further affirming that all
   416              charges for improvements or repairs which could serve as a basis for a construction lien or a claim for damages
   417              have been paid or will be paid at Closing.
   418              F. TIME: Calendar days shall be used in computing time periods. Time is of the essence in this Contract.
   419              Other than time for acceptance and Effective Date as set forth in Paragraph 3, any time periods provided for or
   420              dates specified in this Contract, whether preprinted, handwritten, typewritten or inserted herein, which shall end or
   421              occur on a Saturday, Sunday, or a national legal holiday (see 5 U.S.C. 6103) shall extend to 5:00 p.m. (where the
   422              Property is located) of the next business day.
   423              G. FORCE MAJEURE: Buyer or Seller shall not be required to perform any obligation under this Contract or be
   424              liable to each other for damages so long as performance or non-performance of the obligation is delayed, caused
   425              or prevented by Force Majeure. “Force Majeure” means: hurricanes, earthquakes, floods, fire, acts of God,
   426              unusual transportation delays, wars, insurrections, and acts of terrorism, and which, by exercise of reasonable diligent
   427              effort, the non-performing party is unable in whole or in part to prevent or overcome. All time periods, including
   428              Closing Date, will be extended for the period that the Force Majeure prevents performance under this Contract,
   429              provided, however, if such Force Majeure continues to prevent performance under this Contract more than 14
   430              days beyond Closing Date, then either party may terminate this Contract by delivering written notice to the other
   431              and the Deposit shall be refunded to Buyer, thereby releasing Buyer and Seller from all further obligations under
   432              this Contract.
   433              H. CONVEYANCE: Seller shall convey marketable title to the Real Property by statutory warranty, trustee’s,
   434              personal representative’s, or guardian’s deed, as appropriate to the status of Seller, subject only to matters
   435              described in STANDARD A and those accepted by Buyer. Personal Property shall, at request of Buyer, be
   436              transferred by absolute bill of sale with warranty of title, subject only to such matters as may be provided for in
   437              this Contract.
   438              I. CLOSING LOCATION; DOCUMENTS; AND PROCEDURE:


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                                     STANDARDS FOR REAL ESTATE TRANSACTIONS (“STANDARDS”) CONTINUED

   439              (i) LOCATION: Closing will take place in the county where the Real Property is located at the office of the
   440              attorney or other closing agent (“Closing Agent”) designated by the party paying for the owner’s policy of title
   441              insurance, or, if no title insurance, designated by Seller. Closing may be conducted by mail or electronic means.
   442              (ii) CLOSING DOCUMENTS: Seller shall at or prior to Closing, execute and deliver, as applicable, deed, bill of
   443              sale, certificate(s) of title or other documents necessary to transfer title to the Property, construction lien affidavit
   444              (s), owner’s possession and no lien affidavit(s), and assignment(s) of leases. Seller shall provide Buyer with paid
   445              receipts for all work done on the Property pursuant to this Contract. Buyer shall furnish and pay for, as applicable
   446              the survey, flood elevation certification, and documents required by Buyer’s lender.
   447              (iii) PROCEDURE: The deed shall be recorded upon COLLECTION of all closing funds. If the Title Commitment
   448              provides insurance against adverse matters pursuant to Section 627.7841, F.S., as amended, the escrow closing
   449              procedure required by STANDARD J shall be waived, and Closing Agent shall, subject to COLLECTION of all
   450              closing funds, disburse at Closing the brokerage fees to Broker and the net sale proceeds to Seller.
   451              J. ESCROW CLOSING PROCEDURE: If Title Commitment issued pursuant to Paragraph 9(c) does not provide
   452              for insurance against adverse matters as permitted under Section 627.7841, F.S., as amended, the following
   453              escrow and closing procedures shall apply: (1) all Closing proceeds shall be held in escrow by the Closing Agent
   454              for a period of not more than 10 days after Closing; (2) if Seller’s title is rendered unmarketable, through no fault
   455              of Buyer, Buyer shall, within the 10 day period, notify Seller in writing of the defect and Seller shall have 30 days
   456              from date of receipt of such notification to cure the defect; (3) if Seller fails to timely cure the defect, the Deposit
   457              and all Closing funds paid by Buyer shall, within 5 days after written demand by Buyer, be refunded to Buyer and,
   458              simultaneously with such repayment, Buyer shall return the Personal Property, vacate the Real Property and re-
   459              convey the Property to Seller by special warranty deed and bill of sale; and (4) if Buyer fails to make timely
   460              demand for refund of the Deposit, Buyer shall take title as is, waiving all rights against Seller as to any intervening
   461              defect except as may be available to Buyer by virtue of warranties contained in the deed or bill of sale.
   462              K. PRORATIONS; CREDITS: The following recurring items will be made current (if applicable) and prorated as
   463              of the day prior to Closing Date, or date of occupancy if occupancy occurs before Closing Date: real estate taxes
   464              (including special benefit tax assessments imposed by a CDD), interest, bonds, association fees, insurance, rents
   465              and other expenses of Property. Buyer shall have option of taking over existing policies of insurance, if
   466              assumable, in which event premiums shall be prorated. Cash at Closing shall be increased or decreased as may
   467              be required by prorations to be made through day prior to Closing. Advance rent and security deposits, if any, will
   468              be credited to Buyer. Escrow deposits held by Seller’s mortgagee will be paid to Seller. Taxes shall be prorated
   469              based on current year’s tax with due allowance made for maximum allowable discount, homestead and other
   470              exemptions. If Closing occurs on a date when current year’s millage is not fixed but current year’s assessment is
   471              available, taxes will be prorated based upon such assessment and prior year’s millage. If current year’s
   472              assessment is not available, then taxes will be prorated on prior year’s tax. If there are completed improvements
   473              on the Real Property by January 1st of year of Closing, which improvements were not in existence on January 1st
   474              of prior year, then taxes shall be prorated based upon prior year’s millage and at an equitable assessment to be
   475              agreed upon between the parties, failing which, request shall be made to the County Property Appraiser for an
   476              informal assessment taking into account available exemptions. A tax proration based on an estimate shall, at
   477              either party’s request, be readjusted upon receipt of current year’s tax bill. This STANDARD K shall survive
   478              Closing.
   479              L. ACCESS TO PROPERTY TO CONDUCT APPRAISALS, INSPECTIONS, AND WALK-THROUGH: Seller
   480              shall, upon reasonable notice, provide utilities service and access to Property for appraisals and inspections,
   481              including a walk-through (or follow-up walk-through if necessary) prior to Closing.
   482              M. RISK OF LOSS: If, after Effective Date, but before Closing, Property is damaged by fire or other casualty
   483              (“Casualty Loss”) and cost of restoration (which shall include cost of pruning or removing damaged trees) does
   484              not exceed 1.5% of Purchase Price, cost of restoration shall be an obligation of Seller and Closing shall proceed
   485              pursuant to terms of this Contract. If restoration is not completed as of Closing, a sum equal to 125% of estimated
   486              cost to complete restoration (not to exceed 1.5% of Purchase Price), will be escrowed at Closing. If actual cost of
   487              restoration exceeds escrowed amount, Seller shall pay such actual costs (but, not in excess of 1.5% of Purchase
   488              Price). Any unused portion of escrowed amount shall be returned to Seller. If cost of restoration exceeds 1.5% of
   489              Purchase Price, Buyer shall elect to either take Property “as is” together with the 1.5%, or receive a refund of the
   490              Deposit, thereby releasing Buyer and Seller from all further obligations under this Contract. Seller’s sole obligation
   491              with respect to tree damage by casualty or other natural occurrence shall be cost of pruning or removal.
   492              N. .1031 EXCHANGE: If either Seller or Buyer wish to enter into a like-kind exchange (either simultaneously with
   493              Closing or deferred) under Section 1031 of the Internal Revenue Code (“Exchange”), the other party shall
   494              cooperate in all reasonable respects to effectuate the Exchange, including execution of documents; provided,



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   495              however, cooperating party shall incur no liability or expense related to the Exchange, and Closing shall not be
   496              contingent upon, nor extended or delayed by, such Exchange.
   497              O. CONTRACT NOT RECORDABLE; PERSONS BOUND; NOTICE; DELIVERY; COPIES; CONTRACT
   498              EXECUTION: Neither this Contract nor any notice of it shall be recorded in any public records. This Contract shall
   499              be binding on, and inure to the benefit of, the parties and their respective heirs or successors in interest.
   500              Whenever the context permits, singular shall include plural and one gender shall include all. Notice and delivery
   501              given by or to the attorney or broker (including such broker’s real estate licensee) representing any party shall be
   502              as effective as if given by or to that party. All notices must be in writing and may be made by mail, personal
   503              delivery or electronic (including “pdf”) media. A facsimile or electronic (including “pdf”) copy of this Contract and
   504              any signatures hereon shall be considered for all purposes as an original. This Contract may be executed by use
   505              of electronic signatures, as determined by Florida’s Electronic Signature Act and other applicable laws.
   506              P. INTEGRATION; MODIFICATION: This Contract contains the full and complete understanding and agreement
   507              of Buyer and Seller with respect to the transaction contemplated by this Contract and no prior agreements or
   508              representations shall be binding upon Buyer or Seller unless included in this Contract. No modification to or
   509              change in this Contract shall be valid or binding upon Buyer or Seller unless in writing and executed by the parties
   510              intended to be bound by it.
   511              Q. WAIVER: Failure of Buyer or Seller to insist on compliance with, or strict performance of, any provision of this
   512              Contract, or to take advantage of any right under this Contract, shall not constitute a waiver of other provisions or
   513              rights.
   514              R. RIDERS; ADDENDA; TYPEWRITTEN OR HANDWRITTEN PROVISIONS: Riders, addenda, and typewritten
   515              or handwritten provisions shall control all printed provisions of this Contract in conflict with them.
   516              S. .COLLECTION or COLLECTED: “COLLECTION” or “COLLECTED” means any checks tendered or
   517              received, including Deposits, have become actually and finally collected and deposited in the account of
   518              Escrow Agent or Closing Agent. Closing and disbursement of funds and delivery of closing documents
   519              may be delayed by Closing Agent until such amounts have been COLLECTED in Closing Agent’s
   520              accounts.
   521              T. LOAN COMMITMENT: “Loan Commitment” means a statement by the lender setting forth the terms and
   522              conditions upon which the lender is willing to make a particular mortgage loan to a particular borrower. Neither a
   523              pre-approval letter nor a prequalification letter shall be deemed a Loan Commitment for purposes of this Contract.
   524              U. .APPLICABLE LAW AND VENUE: This Contract shall be construed in accordance with the laws of the State
   525              of Florida and venue for resolution of all disputes, whether by mediation, arbitration or litigation, shall lie in the
   526              county where the Real Property is located.
   527              V. .FOREIGN INVESTMENT IN REAL PROPERTY TAX ACT (“FIRPTA”): If a seller of U.S. real property is a
   528              “foreign person” as defined by FIRPTA, Section 1445 of the Internal Revenue Code requires the buyer of the real
   529              property to withhold up to 15% of the amount realized by the seller on the transfer and remit the withheld amount
   530              to the Internal Revenue Service (IRS) unless an exemption to the required withholding applies or the seller has
   531              obtained a Withholding Certificate from the IRS authorizing a reduced amount of withholding. Due to the
   532              complexity and potential risks of FIRPTA, Buyer and Seller should seek legal and tax advice regarding
   533              compliance, particularly if an “exemption” is claimed on the sale of residential property for $300,000 or less.
   534              (i) No withholding is required under Section 1445 if the Seller is not a “foreign person,” provided Buyer accepts
   535              proof of same from Seller, which may include Buyer’s receipt of certification of non-foreign status from Seller,
   536              signed under penalties of perjury, stating that Seller is not a foreign person and containing Seller’s name, U.S.
   537              taxpayer identification number and home address (or office address, in the case of an entity), as provided for in
   538              26 CFR 1.1445-2(b). Otherwise, Buyer shall withhold the applicable percentage of the amount realized by Seller
   539              on the transfer and timely remit said funds to the IRS.
   540              (ii) .If Seller has received a Withholding Certificate from the IRS which provides for reduced or eliminated
   541              withholding in this transaction and provides same to Buyer by Closing, then Buyer shall withhold the reduced
   542              sum, if any required, and timely remit said funds to the IRS.
   543              (iii) If prior to Closing Seller has submitted a completed application to the IRS for a Withholding Certificate and
   544              has provided to Buyer the notice required by 26 CFR 1.1445-1(c) (2)(i)(B) but no Withholding Certificate has been
   545              received as of Closing, Buyer shall, at Closing, withhold the applicable percentage of the amount realized by
   546              Seller on the transfer and, at Buyer’s option, either (a) timely remit the withheld funds to the IRS or (b) place the
   547              funds in escrow, at Seller’s expense, with an escrow agent selected by Buyer and pursuant to terms negotiated
   548              by the parties, to be subsequently disbursed in accordance with the Withholding Certificate issued by the IRS or
   549              remitted directly to the IRS if the Seller’s application is rejected or upon terms set forth in the escrow agreement.
   550              (iv) In the event the net proceeds due Seller are not sufficient to meet the withholding requirement(s) in this
   551              transaction, Seller shall deliver to Buyer, at Closing, the additional COLLECTED funds necessary to satisfy the


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   552              applicable requirement and thereafter Buyer shall timely remit said funds to the IRS or escrow the funds for
   553              disbursement in accordance with the final determination of the IRS, as applicable.
   554              (v) Upon remitting funds to the IRS pursuant to this STANDARD, Buyer shall provide Seller copies of IRS Forms
   555              8288 and 8288-A, as filed.
   556              W. RESERVED
   557              X. BUYER WAIVER OF CLAIMS: To the extent permitted by law, Buyer waives any claims against Seller
   558              and against any real estate licensee involved in the negotiation of this Contract for any damage or
   559              defects pertaining to the physical condition of the Property that may exist at Closing of this Contract and
   560              be subsequently discovered by the Buyer or anyone claiming by, through, under or against the Buyer.
   561              This provision does not relieve Seller’s obligation to comply with Paragraph 10(j). This Standard X shall
   562              survive Closing.
   563                                                ADDENDA AND ADDITIONAL TERMS
   564*       19. ADDENDA: The following additional terms are included in the attached addenda or riders and incorporated into
   565            this Contract (Check if applicable):
                  A. Condominium Rider              K. RESERVED                            T. Pre-Closing Occupancy
                  B. Homeowners’ Assn.              L. RESERVED                            U. Post-Closing Occupancy
                  C. Seller Financing               M. Defective Drywall                   V. Sale of Buyer’s Property
                  D. Mortgage Assumption            N. Coastal Construction Control Line   W. Back-up Contract
                  E. FHA/VA Financing               O. Insulation Disclosure               X. Kick-out Clause
                  F. Appraisal Contingency          P. Lead Paint Disclosure (Pre-1978)    Y. Seller’s Attorney Approval
                  G. Short Sale                     Q. Housing for Older Persons           Z. Buyer’s Attorney Approval
                  H. Homeowners’/Flood In           R. Rezoning                            AA. Licensee Property Interest
                  J. Interest-Bearing Acct.         S. Lease Purchase/ Lease Option        BB. Binding Arbitration


   566*                              The Buyer and Seller agree to split closing costs 50/50. The Buyer will select the closing
              20. ADDITIONAL TERMS:________________________________________________________________________
   567            agent.
                  __________________________________________________________________________________________
   568            __________________________________________________________________________________________
   569            __________________________________________________________________________________________
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   583                                                                   COUNTER-OFFER/REJECTION
   584*          Seller counters Buyer’s offer (to accept the counter-offer, Buyer must sign or initial the counter-offered terms and
   585        deliver a copy of the acceptance to Seller).
   586*          Seller rejects Buyer’s offer.

   587        THIS IS INTENDED TO BE A LEGALLY BINDING CONTRACT. IF NOT FULLY UNDERSTOOD, SEEK THE
   588        ADVICE OF AN ATTORNEY PRIOR TO SIGNING.

   589        THIS FORM HAS BEEN APPROVED BY THE FLORIDA REALTORS AND THE FLORIDA BAR.

   590        Approval of this form by the Florida Realtors and The Florida Bar does not constitute an opinion that any of the terms
   591        and conditions in this Contract should be accepted by the parties in a particular transaction. Terms and conditions


                                  JM
              Buyer’s Initials ________ _________
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                                                                                                                                 Seller’s Initials _________ _________
                                                                                                                                               Jun 17, 2016
         Serial#: 010850-000146-6176684

Electronically Signed using eSignOnline™[ Session ID : 3bf08f55-c4b9-494c-b156-e54e9aa49bfe ]
            Case 0:17-cv-60907-FAM Document 404 Entered on FLSD Docket 08/29/2019 Page 29 of 32


   592        should be negotiated based upon the respective interests, objectives and bargaining positions of all interested
   593        persons.

   594        AN ASTERISK (*) FOLLOWING A LINE NUMBER IN THE MARGIN INDICATES THE LINE CONTAINS A BLANK TO
   595        BE COMPLETED.
   596
   597*
   598
                         Jeremy Marcus
              Buyer: _______________________________________________________________                                                    Date: 6/17/2016
                                                                                                                                              _________________

   599*       Buyer: _______________________________________________________________                                                    Date: _________________
   600
   601*       Seller: _______________________________________________________________                                                          June 17, 2016
                                                                                                                                        Date: _________________
   602
                         Jun 17, 2016
   603*       Seller: _______________________________________________________________                                                   Date: _________________
   604
   605        Buyer’s address for purposes of notice                                                Seller’s address for purposes of notice
   606*       1410 SW 3rd St.
              ___________________________________________                                           3409  FALLSTAFF RD
                                                                                                    ____________________________________________
   607*       Pompano   Beach, FL 33069
              ___________________________________________                                           BALTIMORE     MD 21215
                                                                                                    ____________________________________________
   608*       ___________________________________________                                           ____________________________________________

   609        BROKER: Listing and Cooperating Brokers, if any, named below (collectively, “Broker”), are the only Brokers entitled
   610        to compensation in connection with this Contract. Instruction to Closing Agent: Seller and Buyer direct Closing Agent
   611        to disburse at Closing the full amount of the brokerage fees as specified in separate brokerage agreements with the
   612        parties and cooperative agreements between the Brokers, except to the extent Broker has retained such fees from the
   613        escrowed funds. This Contract shall not modify any MLS or other offer of compensation made by Seller or Listing
   614        Broker to Cooperating Brokers.

   615*                        Amanda Finley
              ___________________________________________                                                                 Timothy Elmes
                                                                                                         __________________________________________
   616        Cooperating Sales Associate, if any                                                        Listing Sales Associate

   617*                Florida Coastal Realty Group 3%
              ___________________________________________                                                               Coldwell Banker
                                                                                                         __________________________________________
   618        Cooperating Broker, if any                                                                 Listing Broker




                                 JM
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                                                                                                                                 Seller’s Initials _________ _________
                                                                                                                                              Jun 17, 2016
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            EXHIBIT C
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